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              Exhibit “A”
                 Plaintiff's Complaint
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     COMP
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 5   Attorneys for Plaintiff
 6                                                  DISTRICT COURT
 7
                                              CLARK COUNTY, NEVADA
 8   BONNIE BAKER, individually.                              )
                                                              ) CASE NO.
 9                 Plaintiff,                                 ) DEPT. NO.
                                                              )
10   vs.                                                      )
                                             ) COMPLAINT
11   WAL-MART STORES, INC.; DOES I-V; and ROE)
     CORPORATIONS I-V, inclusive.            )
12                                                            )
                   Defendants.                                )
13                                                            )
14          Plaintiff complains as follows:
15                                            GENERAL ALLEGATIONS
16          1.     The actions complained of herein occurred in Clark County, Nevada.
17          2.     Defendant WAL-MART STORES, INC. (hereinafter “WALMART”) is, and at all times
18   mentioned herein, was, a corporation conducting business in Clark County, Nevada.
19          3.     This Court has jurisdiction over this matter under NRS 14.065 and NRS 4.370(1) because
20   the facts alleged occurred in Clark County, Nevada and involve an amount in controversy in excess of
21   $15,000.00. Venue is proper under NRS 13.040 because, upon information and belief. Defendant, or any
22   one of them, resided in Clark County, Nevada at the commencement of this action.
23          4.     The true names and capacities of the Defendants designated herein as Doe or Roe
24   Corporations are presently unknown to Plaintiff at this time, who therefore sues said Defendants by such
25   fictitious names. When the true names and capacities of these defendants are ascertained. Plaintiff will
26   amend this Complaint accordingly.
27          5.     At all times pertinent herein. Defendants were agents, servants, employees or joint venturers
28   of every other Defendant, and at all times mentioned herein were acting within the scope and course of said

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 1   agency, employment, or joint venture, with knowledge and permission and consent of all other named
 2   Defendants.
 3           6.     On July 29,2018, Plaintiff was an invitee of Defendants located at 2310 E. Serene Ave., Las
 4   Vegas, Nevada (hereafter the “Property”).
 5          7.      Defendants maintained and were in control of the Property.
 6          8.      While visiting the Property, Plaintiff slipped on grapes that were on the floor (hereafter the
 7   “dangerous condition”), causing Plaintiff serious injuries.
 8          9.      Defendants should have warned or otherwise made safe the dangerous condition because
 9   that condition was non-obvious to Plaintiff
10           10.    Defendants negligently, carelessly, and recklessly maintained, constructed and allowed the
11   dangerous condition to exist.
12                                          FIRST CAUSE OF ACTION
13           11.    Plaintiff incorporates paragraphs 1 through 10 of the Complaint as if those paragraphs were
14   fully incorporated herein.
15           12.    Defendants owed Plaintiff a duty of care to warn Plaintiff of the non-obvious and dangerous
16   condition.
17           13.    Defendants breached this duty of care by failing to warn Plaintiff of the dangerous, non-
18   obvious condition.
19           14.    Defendants’ negligence directly and proximately caused Plaintiff serious injury.
20           15.    As a direct and proximate result of Defendants’ negligence. Plaintiff received medical and
21   other treatments for injuries sustained to her bodily limbs, organs and nervous systems, all or some of
22   which conditions may be permanent and disabling and, all to Plaintiff’s damage in a sum in excess of
23   $15,000.00. Said services, care, and treatment are continuing and shall continue in the future.
24           16.    As a direct and proximate result of Defendants’ negligence. Plaintiff has been required to
25   and has limited certain recreational activities, which have caused, and shall continue to cause loss of
26   enjoyment of life.
27           17.    Plaintiff has been required to engage the services of an attorney, incurring attorney’s fees
28   and costs to bring this action.

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 1          WHEREFORE, Plaintiff expressly reserving the right to amend this complaint prior to or at the time
 2   of trial of this action, to insert those items of damage not yet fully ascertainable, prays judgment against all
 3   Defendants, and each of them, as follows:
 4          1.      For general damages in an amount in excess of $15,000.00;
 5          2.      For special damages in an amount in excess of $15,000.00;
 6          '3.     For reasonable attorney’s fees and costs;
 7          4.      For interest at the statutory rate; and
 8          5.      For such other relief as the Court deems just and proper.
 9
                                                    LERNER & ROWE INJURY ATTORNEYS
10

11                                                  By:.
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12                                                     Nevada Bar^0. 10514-^
                                                       4795 South Durango Drive
13                                                     Las Vegas, Nevada 89147
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